     Case 3:19-cv-00209-MMA-AHG Document 36 Filed 10/15/20 PageID.2754 Page 1 of 2



1
2
3
4
5
6
7
8                             UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
10
       ANNE M. KAY,                                           Case No.: 19-cv-00209-MMA (AHG)
11
                                                              ORDER SETTING BENCH TRIAL
12                                         Plaintiff,         DATE AND BRIEFING SCHEDULE
       v.
13                                                            [Doc. No. 35]
       HARTFORD LIFE AND ACCIDENT
14     INSURANCE COMPANY,
15
                                        Defendant.
16
17
18          On July 10, 2019, Magistrate Judge Major issued a scheduling order providing,
19    inter alia, that the Court will set a merits briefing schedule after ruling on Plaintiff’s
20    motion to augment the administrative record. See Doc. No. 15. The Court ultimately
21    denied Plaintiff’s motion. See Doc. No. 26. The Court then directed the parties to meet
22    and confer and submit a merits briefing schedule. See Doc. No. 27. Instead, the parties
23    requested, and the Court granted, a continuance so they could participate in mediation.
24    See Doc. No. 30.
25          According to the parties’ joint status report, the mediation did not result in a
26    settlement. They now jointly propose a merits briefing schedule and bench trial date.
27    Having reviewed the joint status report and proposed schedule, the Court ORDERS as
28    follows. The parties are to file opening briefs on or before December 18, 2020.

                                                        -1-                   19-cv-00209-MMA (AHG)
     Case 3:19-cv-00209-MMA-AHG Document 36 Filed 10/15/20 PageID.2755 Page 2 of 2



1     Proposed findings of fact and conclusions of law must be filed on or before January 19,
2     2021. And response briefs must be filed on or before January 29, 2021. The Court will
3     then hold a bench trial on Tuesday, February 16, 2021 at 9:00 A.M. in Courtroom 3D.
4           IT IS SO ORDERED.
5     Dated: October 15, 2020
6                                                 _____________________________
7                                                 HON. MICHAEL M. ANELLO
                                                  United States District Judge
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                -2-                    19-cv-00209-MMA (AHG)
